                                     ROBERT P. CROWTHER
                                     LAW OFFICES OF ROBERT CROWTHER
                                     1113 W. Fireweed Lane, Suite 200
                                     Anchorage, Alaska 99503
                                     Telephone (907) 274-1980
                                     Facsimile (907) 274-2085

                                     Attorney for the Debtors
                                     File No.


                                                         IN THE UNITED STATES BANKRUPTCY COURT

                                                                 FOR THE DISTRICT OF ALASKA


                                      In re:

                                      MAE E. HAYES and GARIC A. HAYES
                                                                                               Case No.
                                                              Debtors.
                                                                                               Chapter 7



                                                        VERIFICATION OF CREDITOR MAILING MATRIX


                                     We, Mae E. and Garic A. Hayes, the undersigned debtors, do hereby certify under

                                     penalty of perjury that the attached master mailing list of creditors (“Matrix”), or

                                     amended master mailing list (“Amended Matrix”), is true and correct to the best of our

                                     knowledge, and we assume all responsibility for errors and omissions.


                                     May 28, 2024                             /s/ Mae E. Hayes
                                     (date)                                   (signature of debtor)


                                     May 28, 2024                             /s/ Garic A. Hayes
                                     (date)                                   (signature of joint debtor)




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX                                                Page 1
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Ace Concrete
                                     Last Four Acct. No. 4737
                                     P.O. Box 875568
                                     Wasilla, AK 99687


                                     Affirm
                                     Last Four Acct. No.
                                     650 California Street, Floor 12
                                     San Francisco, CA 94108


                                     Affirm
                                     Last Four Acct. No.
                                     c/o True Accord
                                     16011 College Blvd., #130
                                     Lenexa, KS 66219


                                     Airport Equipment Rentals
                                     Last Four Acct. No. 4693
                                     P.O. Box 72578
                                     Fairbanks, AK 99707


                                     Alaska Foundation Coating
                                     Last Four Acct. No.
                                     1576 W. Clydesdale Drive
                                     Wasilla, AK 99654


                                     Alaska Waste Mat-Su, LLC
                                     Last Four Acct. No. 3269-001
                                     2400 Polar Bear
                                     Wasilla, AK 99654


                                     All Points North
                                     Last Four Acct. No.
                                     c/o Gregory S. Parvin
                                     290 N. Willow Street
                                     Wasilla, AK 99654


R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 2
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Allstate
                                     Last Four Acct. No. 7095
                                     P.O. Box 661039
                                     Dallas, TX 75266


                                     American Express
                                     Last Four Acct. No. 91005
                                     P.O. Box 650448
                                     Dallas, TX 75265-0048


                                     American Express
                                     Last Four Acct. No. 91005
                                     P.O. Box 360001
                                     Ft. Lauderdale, FL 33336-0001


                                     American Express
                                     Last Four Acct. No. 91005
                                     P.O. Box 981537
                                     El Paso, TX 79998


                                     American Express
                                     Last Four Acct. No. 41006
                                     P.O. Box 60189
                                     Dallas, TX 75265-0048


                                     American Express
                                     Last Four Acct. No. 41006
                                     P.O. Box 981535
                                     El Paso, TX 79998-1535


                                     Anderson, John and Jeanine
                                     Last Four Acct. No.
                                     c/o Peter Sandberg
                                     813 W. 3rd Avenue
                                     Anchorage, AK 99501




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 3
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Architects Alaska
                                     Last Four Acct. No.
                                     c/o Leonard R. Anderson
                                     420 “L” Street, Suite 310
                                     Anchorage, AK 99501


                                     BCI
                                     Last Four Acct. No.
                                     3900 “C” Street, Suite 301
                                     Anchorage, AK 99503


                                     Bank of America
                                     Last Four Acct. No. 3155
                                     P.O. Box 851001
                                     Dallas, TX 75285-1001


                                     Bank of America
                                     Last Four Acct. No. 3155
                                     P.O. Box 672050
                                     Dallas, TX 75267-2050


                                     Bank of America
                                     Last Four Acct. No. 8905
                                     P.O. Box 851001
                                     Dallas, TX 75285-1001


                                     Bank of America
                                     Last Four Acct. No. 8905
                                     P.O. Box 15284
                                     Wilmington, DE 19850


                                     Bank of America
                                     Last Four Acct. No. 8905
                                     P.O. Box 982238
                                     El Paso, TX 79998




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 4
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Brown’s Electric
                                     Last Four Acct. No.
                                     c/o Wayne G. Dawson
                                     Dawson Law Group, LLC
                                     P.O. Box 244965
                                     Anchorage, AK 99524


                                     Bauer, Peter and Leann
                                     Last Four Acct. No.
                                     20407 Philadelphia Way
                                     Eagle River, AK 99577


                                     Big Country Excavation
                                     Last Four Acct. No.
                                     P.O. Box 876210
                                     Wasilla, AK 99687-6210


                                     Builders Millwork Supply
                                     Last Four Acct. No.
                                     1701 E. Dimond Circle
                                     Anchorage, AK 99507


                                     C & J Drywall
                                     Last Four Acct. No.
                                     P.O. Box 879209
                                     Wasilla, AK 99687


                                     Caine & Weiner
                                     Last Four Acct. No. 9570
                                     P.O. Box 55848
                                     Sherman Oaks, CA 91413


                                     Capital One Bank USA, N.A.
                                     Last Four Acct. No. 2904
                                     P.O. Box 60519
                                     Fairbanks, AK 997077




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 5
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Capital One Bank USA, N.A.
                                     Last Four Acct. No. 2904
                                     P.O. Box 30285
                                     Salt Lake City, UT 84130-0285


                                     Capital One Bank USA, N.A.
                                     Last Four Acct. No. 2904
                                     P.O. Box 31293
                                     Salt Lake City, UT 84131


                                     Caring Hands Cleaning
                                     Last Four Acct. No.
                                     926 W. Airway Circle
                                     Wasilla, AK 99654


                                     Carpet World
                                     Last Four Acct. No.
                                     P.O. Box 870610
                                     Wasilla, AK 99687


                                     Chase Card Services
                                     Last Four Acct. No. 0727
                                     P.O. Box 6294
                                     Carol Stream, IL 60197


                                     Chase Card Services
                                     Last Four Acct. No. 0727
                                     P.O. Box 15548
                                     Wilmington, DE 19886-5548


                                     Chase Card Services
                                     Last Four Acct. No. 0727
                                     301 N. Walnut Street, Floor 09
                                     Wilmington, DE 19801




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 6
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Citi Cards CBNA
                                     Last Four Acct. No. 6302
                                     P.O. Box 78019
                                     Phoenix, AZ 85062-8019


                                     Citi Cards CBNA
                                     Last Four Acct. No. 6302
                                     P.O. Box 6403
                                     Sioux Falls, SD 57117


                                     Cornerstone Credit Services, LLC
                                     Last Four Acct. No.
                                     P.O. Box 92090
                                     Anchorage, AK 99503-2090


                                     Cornerstone Credit Services, LLC
                                     Last Four Acct. No.
                                     1835 Bragaw Street, Suite 500
                                     Anchorage, AK 99508-3488


                                     Credit One Bank
                                     Last Four Acct. No. 0773
                                     P.O. Box 60500
                                     City of Industry, CA 91716-0500


                                     Credit Control, LLC
                                     Last Four Acct. No. 8801
                                     3300 Rider Trail S., Suite 500
                                     Earth City, MO 630445


                                     Credit One Bank
                                     Last Four Acct. No. 0773
                                     P.O. Box 98873
                                     Las Vegas, NV 89193-8873




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 7
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     D & A Services
                                     Last Four Acct. No. 7520
                                     1400 E. Touhy Avenue, 92
                                     Des Plaines, IL 60018


                                     Dc5, LLC
                                     Last Four Acct. No.
                                     c/o Michael Rose
                                     4300 “B” Street, #206
                                     Anchorage, AK 99503


                                     Denali Industrial
                                     Last Four Acct. No.
                                     3060 Red Birch Drive
                                     Wasilla, AK 99623


                                     Dinwiddie
                                     Last Four Acct. No.
                                     4350 S. Bodenburg Unit Loop
                                     Palmer, AK 99645


                                     E & D Water Wells, LLC
                                     Last Four Acct. No.
                                     3530 West Spense Lane
                                     Wasilla, AK 99623


                                     Enstar
                                     Last Four Acct. No.
                                     3351 Palmer-Wasilla Highway
                                     Wasilla, AK 99654


                                     Farmer Surveying
                                     Last Four Acct. No.
                                     9131 E. Frontage
                                     Palmer, AK 99645




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 8
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     First Source
                                     Last Four Acct. No.
                                     205 Bryant Woods South
                                     Amherst, NY 14228


                                     G & D Water Wells
                                     Last Four Acct. No.
                                     3530 West Spruce Lane
                                     Wasilla, AK 99623


                                     Gibson Roofing
                                     Last Four Acct. No.
                                     P.O. Box 875470
                                     Wasilla, AK 99687


                                     Gregory Funding
                                     Last Four Acct. No. 1689-527
                                     P.O. Box 742334
                                     Los Angeles, CA 90074


                                     Halecraft Cabinets
                                     Last Four Acct. No.
                                     P.O. Box 877795
                                     Wasilla, AK 99687


                                     Hayes, Christy
                                     Last Four Acct. No.
                                     6060 Wesmew Circle
                                     Wasilla, AK 99654


                                     Hatcher, Kelci
                                     Last Four Acct. No.
                                     c/o Gregory S. Parvin
                                     290 N. Willow Street
                                     Wasilla, AK 99654




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 9
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Hillman, Matthew and Cassandra
                                     Last Four Acct. No.
                                     3870 Reflection Drive
                                     Anchorage, AK 99504



                                     Hrin, Steven
                                     Last Four Acct. No.
                                     c/o Gregory S. Parvin
                                     290 N. Willow Street
                                     Wasilla, AK 99654


                                     Internal Revenue Service
                                       Centralized Insolvency Operations
                                     Last Four Acct. No.
                                     P.O. Box 7346
                                     Philadelphia, PA 19101-7346


                                     Internal Revenue Service
                                       Field Insolvency
                                     Last Four Acct. No.
                                     915 2nd Avenue, MS W244
                                     Seattle, WA 98174


                                     Jefferson Capital
                                     Last Four Acct. No. 5930
                                     Department #6419
                                     P.O. Box 11407
                                     Birmingham, AL 35346-6419


                                     John Deere
                                     Last Four Acct. No. 6552
                                     P.O. Box 4550
                                     Carol Stream, IL 60197


                                     Johnson, Lewis T.
                                     Last Four Acct. No.
                                     485 W. Goldenwood Street
                                     Wasilla, AK 99654

R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 10
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Johnston, Michael A. and Alice R.
                                     Last Four Acct. No.
                                     P.O. Box 871464
                                     Wasilla, AK 99687


                                     La Buda, William
                                     Last Four Acct. No.
                                     4740 Efattic Drive
                                     Wasilla, AK 99654


                                     Leviton Law Firm
                                     Last Four Acct. No.
                                     One Pierce Place, Suite 725 W
                                     Ithaca, IL 60143173


                                     Liberty Tax
                                     Last Four Acct. No.
                                     1451 E. Parks Highway
                                     Wasilla, AK 99654


                                     Liberty Mutual
                                     Last Four Acct. No.
                                     935 National Parkway
                                     Schaumburg, IL 60173


                                     Matanuska Telephone
                                     Last Four Acct. No. 8588
                                     21411 Sun Mountain Avenue, Building E
                                     Wasilla, AK 99654


                                     Matanuska Valley Federal Credit Union
                                     Last Four Acct. No. 4435
                                     1020 S. Bailey Street
                                     Palmer, AK 99645




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 11
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Matanuska Valley Federal Credit Union
                                     Last Four Acct. No. 5329
                                     1020 S. Bailey Street
                                     Palmer, AK 99645


                                     Matanuska Valley Federal Credit Union
                                     Last Four Acct. No. 2825
                                     1020 S. Bailey Street
                                     Palmer, AK 99645


                                     Matanuska-Susitna Borough
                                     Last Four Acct. No.
                                     350 E. Dahlia Avenue
                                     Palmer, AK 99654


                                     Matanuska-Susitna Regional Medical Center
                                     Last Four Acct. No. 2839
                                     P.O. Box 1687
                                     Palmer, AK 99645-1687


                                     Matanuska-Susitna Regional Medical Center
                                     Last Four Acct. No. 24774
                                     P.O. Box 1687
                                     Palmer, AK 99645-1687


                                     Matanuska-Susitna Regional Medical Center
                                     Last Four Acct. No. 4774
                                     P.O. Box 1280
                                     Oaks, PA 19456-1280


                                     Matusevich, Jenny
                                     Last Four Acct. No.
                                     1520 Chicory Way
                                     Alpharetta, GA 30005




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 12
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Nichols, Raymond
                                     Last Four Acct. No.
                                     1520 Chicory Way
                                     Alpharetta, GA 30005


                                     North Lit, Electric, LLC
                                     Last Four Acct. No.
                                     PMB 109, 3060 N. Lazy-Eight Circle, Suite 2
                                     Wasilla, AK 99654


                                     Northrim Bank
                                     Last Four Acct. No.
                                     Retail Banking
                                     3111 “C” Street, Suite 210
                                     Anchorage, AK 99503


                                     ODK Capital, LLC
                                     Last Four Acct. No.
                                     175 W. Jackson Boulevard, Suite 1000
                                     Chicago, IL 60604


                                     ODK Capital, LLC
                                     Last Four Acct. No.
                                     450 Veterans Memorial Parkway, Suite 7A
                                     Chicago, IL 60604


                                     Obrien, Amber
                                     Last Four Acct. No.
                                     3255 N. Paradise Lane
                                     Wasilla, AK 99623


                                     Overby, Jason and Telsche
                                     Last Four Acct. No.
                                     P.O. Box 480
                                     Sutton, AK 99674




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX       Page 13
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Owens Inspections
                                     Last Four Acct. No.
                                     1150 South Colony Way, Suite 2
                                     Palmer, AK 99645


                                     Peterson, Matthew K.
                                     Last Four Acct. No. 2620-352
                                     711 “H” Street, Suite 620
                                     Anchorage, AK 99501-3454


                                     Plan North
                                     Last Four Acct. No.
                                     P.O. Box 874163
                                     Wasilla, AK 99687


                                     Professional Account Services
                                     Last Four Acct. No. 2839
                                     P.O. Box 68
                                     Brentwood, TN 37204


                                     Pucin & Friedland
                                     Last Four Acct. No. 9570
                                     5805 Sepulveda Boulevard, 4th Floor
                                     Sherman Oaks, CA 91411


                                     R & K Land Surveying
                                     Last Four Acct. No.
                                     P.O. Box 606
                                     Willow, AK 99688


                                     Residential Energy Design
                                     Last Four Acct. No.
                                     P.O. Box 4857
                                     Palmer, AK 99645




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 14
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Russell, Justin & Felicity
                                     Last Four Acct. No.
                                     c/o Law Offices of Blake Quakenbush
                                     807 “G” Street, Suite 100
                                     Anchorage, AK 99501


                                     Sherwin Williams
                                     Last Four Acct. No.
                                     c/o Richard L. Crabtree
                                     R Crabtree, apc
                                     2207 Spenard Road, Suite 206
                                     Anchorage, AK 99503


                                     Spenard Builders Supply
                                     Last Four Acct. No.
                                     840 “K” Street, Suite 200
                                     Anchorage, AK 99501


                                     Spenard Builders Supply
                                     Last Four Acct. No.
                                     Attn: Legal Department
                                     6031 Connection Drive
                                     Irving, TX 75039


                                     State of Alaska, Department of Labor
                                       and Workforce Development
                                       Employment Security Tax
                                     Last Four Acct. No.
                                     P.O. Box 115509
                                     Juneau, AK 99811-5509


                                     State of Alaska, Department of Labor
                                       and Workforce Development
                                       Employment Security Tax
                                     Last Four Acct. No.
                                     877 Commercial Drive
                                     Wasilla, AK 99654




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 15
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Stevens Glass
                                     Last Four Acct. No.
                                     3100 N. Lazy Eight Court
                                     Wasilla, AK 99654


                                     TSI
                                     Last Four Acct. No. 7136
                                     500 Virginia Drive, #514
                                     Ft. Washington, PA 19034


                                     TVT 2.0 LLC
                                     Last Four Acct. No.
                                     8791 S. Redwood Road, Suite 200
                                     West Jordan, UT 84088


                                     U.S.A.A. Insurance
                                     Last Four Acct. No. 5245
                                     9800 Fredericksburg Blvd.
                                     San Antonio, TX 78288


                                     U.S. Small Business Administration
                                     Last Four Acct. No.
                                     409 3rd Street SW
                                     Washington, DC 20416


                                     U.S. Small Business Administration
                                     Last Four Acct. No.
                                     10737 Gateway West #300
                                     El Paso, TX 79935


                                     U.S. Small Business Administration
                                     U.S. Attorney’s Office, Dist. of Alaska
                                     222 W. 7th Avenue, #9, Room 253
                                     Anchorage, AK 99513-7500




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 16
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Valley Books, Inc.
                                     Last Four Acct. No.
                                     7748 W. Stillwater Circle
                                     Wasilla, AK 99623


                                     Van Loan, Jed, Esq.
                                     Last Four Acct. No. 2825
                                     205 E. Benson Blvd.
                                     Anchorage, AK 99503


                                     Visana Portfolio Services, Inc.
                                     Last Four Acct. No. 4138
                                     P.O. Box 204491
                                     Dallas, TX 75320-4491


                                     Visana Portfolio Services, Inc.
                                     Last Four Acct. No. 4138
                                     P.O. Box 8038
                                     Lakeland, FL 33802


                                     Visana Portfolio Services, Inc.
                                     Last Four Acct. No. 1691
                                     P.O. Box 204491
                                     Dallas, TX 75320-4491


                                     Visana Portfolio Services, Inc.
                                     Last Four Acct. No. 1691
                                     P.O. Box 8038
                                     Lakeland, FL 33802


                                     Vital Records Control
                                     Last Four Acct. No.
                                     P.O. Box 11407
                                     Department 5874
                                     Birmingham, AL 35246-5874




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 17
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Welcome Home Tile & Stone
                                     Last Four Acct. No.
                                     8990 E. Westlake Drive
                                     Palmer, AK 99645


                                     Wells Fargo Home Loans
                                     Last Four Acct. No.
                                     P.O. Box 10335
                                     Des Moines, IA 50306


                                     Wells Fargo, N.A.
                                     Last Four Acct. No. 1916
                                     MAC F8235-040
                                     P.O. Box 5129
                                     Sioux Falls, SD 57117-5129


                                     Wells Fargo Business Card
                                     Last Four Acct. No. 2700
                                     Payment Remittance Center
                                     P.O. Box 77033
                                     Mineapolis, MN 55480-7733


                                     Wells Fargo Card Services
                                     Last Four Acct. No. 2875
                                     P.O. Box 51193
                                     Los Angeles, CA 90051-5493


                                     Wells Fargo Card Services
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                                     Des Moines, IA 50306


                                     Wells Fargo SBL
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                                     Phoenix, AZ 85038-8650




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    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 18
           S u ite 2 0 0
  A n c h o ra g e , A K 9 9 5 0 3
       (9 0 7 ) 2 7 4 -1 9 8 0
   F a x : (9 0 7 ) 2 7 4 -2 0 8 5
                                     Yamaha
                                     Last Four Acct. No.
                                     3065 Chastain Meadows Parkway
                                     Building #100
                                     Marietta, GA 30066


                                     Zwicker & Associaes, P.C.
                                     Last Four Acct. No.
                                     80 Minuteman Road
                                     Andover, MA 01810-1008




R O B E RT C R O W T H E R           In re: Mae E. and Garic A. Hayes, Case No.
    AT TO R N E Y AT L AW
  111 3 W . F ire w e e d L a n e
                                     VERIFICATION OF CREDITOR MAILING MATRIX      Page 19
           S u ite 2 0 0
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